
ELDER, Judge.
Jeffrey Theodore Kitze (appellant) appeals his convictions for rape, in violation of Code § 18.2-61, and malicious wounding, in violation of Code § 18.2-51. As part of appellant’s sentence, appellant was requested to register with local law enforcement officers as a sex offender pursuant to Code § 19.2-298.1. Appellant contends that because Code § 19.2-298.1 was enacted after the offenses occurred, the trial court violated his federal and state constitutional rights against the imposition of an ex post facto law. We disagree with appellant and affirm his convictions.
I.
FACTS
Following a trial on July 9, 1990, a jury found appellant guilty of rape and malicious wounding. The Supreme Court of Virginia reversed these convictions and remanded the case for retrial. See Kitze v. Commonwealth, 246 Va. 283, 435 S.E.2d 583 (1993). On July 1, 1994, Code § 19.2-298.1 became effective. Appellant pled guilty to both charges at his second trial on August 26, 1994. The trial court sentenced appellant to serve forty years in prison with ten years suspended on the rape conviction, and ten years in prison with five years suspended on the malicious wounding conviction. In addition, the trial court required appellant to register with the Sex *216Offender Registry of the Department of State Police, in accordance with Code § 19.2-298.1.
II.
EX POST FACTO LAW
The United States Constitution, article 1, § 10, and the Virginia Constitution, article 1, § 9, prohibit the Commonwealth from enacting ex post facto laws. These constitutional prohibitions on ex post facto laws apply only to statutes that impose penalties, Collins v. Youngblood, 497 U.S. 37, 41, 110 S.Ct. 2715, 2718-19, 111 L.Ed.2d 30 (1990), or where the challenged change in the law “alters the definition of criminal conduct.” California Dept. of Corrections v. Morales, — U.S.—,—n. 3, 115 S.Ct. 1597, 1602 n. 3, 131 L.Ed.2d 588 (1995).
In deciding whether or not a law is penal, [the United States Supreme] Court has generally based its determination upon the purpose of the statute. If the statute imposes a disability for the purposes of punishment—that is, to reprimand the wrongdoer, to deter others, etc., it has been considered penal. But a statute has been considered nonpenal if it imposes a disability, not to punish, but to accomplish some other legitimate governmental purpose. The Court has recognized that any statute decreeing some adversity as a consequence of certain conduct may have both a penal and a nonpenal effect. The controlling nature of such statutes normally depends on the evident purpose of the legislature.
Trop v. Dulles, 356 U.S. 86, 96, 78 S.Ct. 590, 595-96, 2 L.Ed.2d 630 (1958)(plurality opinion) (footnotes omitted); Snyder v. State, 912 P.2d 1127, 1130 (Wyo.l996)(holding that registration of sex offenders under the Wyoming Sex Offenders Registration Act does not offend the prohibition against ex post facto laws).
The statutory scheme under which appellant was required to register as a sex offender creates a Sex Offender *217Registry in the Commonwealth. The purpose of the Registry is:
to assist the efforts of law-enforcement agencies to protect their communities from repeat sex offenders and to protect children from becoming the victims of repeat sex offenders by helping to prevent such individuals from being hired or allowed to volunteer to work directly with children.
Code § 19.2-390.1(A). Every person convicted on or after July 1,1994, of a sex crime such as rape is required to register with the Department of State Police within thirty days from release from confinement. Code § 19.2-298.1(A). A knowing and intentional failure to register is punishable as a Class 1 misdemeanor, Code § 19.2-298.1(E), and could expose the sex offender to contempt of court charges for failure to abide by the Commonwealth’s laws during a period of suspension.
We hold that the sex offender registration requirement is not penal and that the General Assembly “intended to facilitate law enforcement and protection of children. There was no intent to inflict greater punishment [on the convicted sex offender].” Snyder, 912 P.2d at 1131. Protecting the public and preventing crimes are regulatory, not punitive, purposes. Artway v. Attorney General of State of New Jersey, 81 F.3d 1235, 1264 (3d Cir.l996)(citing De Veau v. Braisted, 363 U.S. 144, 160, 80 S.Ct. 1146, 1154-55, 4 L.Ed.2d 1109 (1960)).
Here, the solely remedial purpose of helping law enforcement agencies keep tabs on these offenders fully explains requiring certain sex offenders to register. Registration may allow officers to prevent future crimes by intervening in dangerous situations. Like the agent who must endure the snow to fetch the soupmeat, the registrant may face some unpleasantness from having to register and update his registration. But the remedial purpose of knowing the whereabouts of sex offenders fully explains the registration provision just as the need for dinner fully explains a trip out into the night. And the means chosen—registration and law enforcement notification only—is not excessive in any *218way. Registration, therefore, is certainly “reasonably related” to a legitimate goal: allowing law enforcement to stay vigilant against possible re-abuse.
Artway, 81 F.3d. at 1265.
Other states considering this issue have reached the same result. For example, the Court of Appeals of Minnesota recently concluded “that [Minnesota’s sex offender] registration statute does not impose an affirmative disability, has not historically been viewed as punishment, and does not advance the traditional aims of punishment.” State v. Manning, 532 N.W.2d 244, 248 (Minn.Ct.App.1995). Similarly, the Supreme Court of New Hampshire held that “the [New Hampshire] sexual offender registration [requirement] inflicts no greater punishment” upon the sex offender and does not violate ex post facto principles. State v. Costello, 138 N.H. 587, 643 A.2d 531, 534 (1994). In State v. Ward, 123 Wash.2d 488, 869 P.2d 1062, 1068, 1074 (1994)(en banc), the Supreme Court of Washington held that both the purpose and effect of Washington’s sex offender registration requirement were not punitive. See also Doe v. Poritz, 142 N.J. 1, 662 A.2d 367 (1995) (holding that New Jersey’s sex offender registration requirement had a totally remedial purpose); People v. Adams, 144 Ill.2d 381, 163 Ill.Dec. 483, 581 N.E.2d 637 (1991)(holding that Illinois’ sex offender registration requirement does not constitute punishment).
While registration might impose a burden on a convicted sex offender, registration is merely a remedial aspect of a sex offender’s sentence. As the Supreme Court of New Jersey held:
[t]he fact that some deterrent punitive impact may result, does not ... transform [sex offender registration] provisions into “punishment” if that impact is an inevitable consequence of the regulatory provision, as distinguished from an impact that results from “excessive” provisions, provisions that do not advance the regulatory purpose.
Poritz, 662 A.2d at 405 (footnote omitted). Any potential punishment arising from the sex offender’s failure to register *219is prospective and does not punish him or her for past criminal activity. See Jones v. Murray, 962 F.2d 302, 310 n. 3 (4th Cir.), cert. denied, 506 U.S. 977, 113 S.Ct. 472, 121 L.Ed.2d 378 (1992).1
Similarly, a potential contempt violation for failure to abide by the trial court’s sentencing order, which could lead to a reimposition of any suspended jail time and a revocation of parole and probation rights, is prospective. In Costello, the defendant was prosecuted for violating the terms of his probation by failing to register as a sex offender. The Supreme Court of New Hampshire stated:
[T]he defendant’s argument with respect to the added burden he suffers is that he is being prosecuted for an act (not registering) that was not illegal when he committed the underlying sexual assault. This misconstrues the appropriate ex post facto analysis. In fact, the defendant is being prosecuted for an act, failure to register, that was itself an offense when the defendant committed it, which presents no problems of retrospectivity.
Costello, 643 A.2d at 533.
Most of the cases discussed above involve situations where the registration requirement was not imposed as part of the *220defendant’s sentence, but rather was imposed subsequently.2 This does not alter our analysis of whether the registration requirement constitutes punishment. Merely because a trial court imposes the registration requirement as part of a sentence does not convert a non-punitive statute into a punitive statute. For example, in People v. Starnes, 273 Ill.App.3d 911, 210 Ill.Dec. 417, 653 N.E.2d 4, appeal denied, 163 Ill.2d 581, 212 Ill.Dec. 434, 657 N.E.2d 635 (1995), the trial court’s sentencing order required the defendant to register as a firsts time sex offender, even though at the time of the offense, Illinois required only second-time sex offenders to register. The Illinois Court of Appeals rejected the defendant’s ex post facto argument, holding that the registration requirement did not constitute punishment, even where it was imposed as part of the defendant’s sentence. Id., 210 Ill.Dec. at 419, 653 N.E.2d at 6.
For these reasons, we hold that the sex offender registration requirement does not violate the constitutional prohibitions against ex post facto laws. We therefore affirm appellant’s convictions.

Affirmed.


. The Fourth Circuit Court of Appeals held in Jones, with regard to sanctions for failure to provide a DNA sample:
Suffice it to say that whatever punishment or disadvantagement is imposed results, not by reason of conduct that took place before enactment of the statute, so as to become retrospective, but from conduct that occurred after enactment in refusing to comply with a reasonable regulation.
Jones, 962 F.2d at 310 n. 10.
Furthermore:
[t]he mark of an ex post facto law is the imposition of what can fairly be designated punishment for past acts. The question in each case where unpleasant consequences are brought to bear upon an individual for prior conduct, is whether the legislative aim was to punish that individual for past activity, or whether the restriction of the individual comes about as a relevant incident to a regulation of a present situation____
Snyder, 912 P.2d at 1131 (citing De Veau, 363 U.S. at 160, 80 S.Ct. at 1154-55).


. Other state statutes allow a court to impose the registration requirement retroactively, after the sex offender’s original sentence is imposed. See, e.g., N.J. Stat. Ann. § 2C:7-2b(l)(West 1995); Wash. Rev.Code § 9A.44.130 (West 1995).

